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   IT IS ORDERED as set forth below:



   Date: November 5, 2020
                                                         _________________________________

                                                                  Jeffery W. Cavender
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                              :      CHAPTER 7
                                                    :
STANLEY ALBERT ABRAMS and                           :      CASE NO. 14-73627-JWC
HYACINTH ANASTASIA ABRAMS,                          :
                                                    :
         Debtors.                                   :
                                                    :


  ORDER APPROVING TRUSTEE’S FINAL REPORT AND APPLICATIONS FOR
COMPENSATION AND REIMBURSEMENT OF EXPENSES OF THE TRUSTEE AND
                PROFESSIONALS OF THE TRUSTEE

         On September 18, 2020, the Chapter 7 Trustee (“Trustee”) filed applications for payment

of compensation in the amount of $6,983.92 and expenses in the amount of $113.78 to the

Chapter 7 Trustee [Doc. No. 53-1], compensation in the amount of $9,835.21 and expenses in the

amount of $22.72 to Arnall Golden Gregory LLP, the Chapter 7 Trustee’s counsel [Doc. No. 53-

2], and compensation in the amount of $1,084.37 and expenses in the amount of $0.00 to Hays




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Financial Consulting, LLC, the Chapter 7 Trustee’s accountants [Doc. No. 53-3] (collectively,

the “Fee Applications”).1

        Also on September 18, 2020, Trustee filed his Trustee’s Final Report (TFR) [Doc. No.

53] (the “Trustee’s Final Report”) in which he proposed to make certain distributions to

creditors, including the above mentioned professionals.

        On September 21, 2020, Trustee filed a notice [Doc. No. 54] (the “Notice”) of the Fee

Applications, setting the Fee Applications and Trustee’s Final Report for hearing on October 22,

2020 (the “Hearing”).

        Trustee certifies that he served the Notice on all creditors and parties in interest entitled

to notice. [Doc. No. 54-1].

        No party in interest filed a response in opposition to the relief requested in the Fee

Applications or Trustee’s Final Report.

        No creditors or parties in interest appeared at the Hearing to oppose the relief requested

in the Fee Applications or Trustee’s Final Report.

        The services sought to be compensated in the Fee Applications have been evaluated

pursuant to 11 U.S.C. §§ 326 and 330. The compensation requested by Trustee is equal to the

statutory fee provided in 11 U.S.C. §326, and appears reasonable under the circumstances. The

compensation of Trustee’s professionals is reasonable under the circumstances.            Under the

principles set forth in Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th

Cir. 1988), and this Court’s knowledge of prevailing market rates and an evaluation of the skill,

experience, and reputation of the professional applicants, the hourly rates which they seek to


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        In several of the applications, the actual amount of fees and expenses requested were
greater than the amounts set out in this Order, but those fees and expenses were voluntarily
reduced based on available funds, as set out in greater detail in Trustee’s Final Report [Doc. No.
53].


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charge are reasonable.       Review of the Fee Applications shows the hours expended were

reasonable. The Court further finds that the expenses, for which reimbursement is sought, were

reasonable and necessary in rendering the services. No factors are present in this case that

require reduction or enhancement of the lodestar. Accordingly, and for good cause shown, it is

hereby

         ORDERED that the Fee Applications and Trustee’s Final Report are APPROVED and

this approval is made final. It is further

         ORDERED that the fees and expenses requested are allowed as compensation and

reimbursement of expenses as follows:

                Applicant                    Docket    Fees       Expenses        Total
                                              No.
 S. Gregory Hays, Chapter 7 Trustee           53-1    $6,983.92    $113.78          $7,097.70
 Arnall Golden Gregory LLP,                   53-2    $9,835.21     $22.72          $9,857.93
 attorneys for Chapter 7 Trustee
 Hays Financial Consulting, LLC,              53-3    $1,084.37      $0.00          $1,084.37
 accountants for Chapter 7 Trustee

It is further

         ORDERED that Trustee is authorized and directed to pay said compensation and

reimbursement of expenses approved herein based on available funds and as specifically outlined

in Trustee’s Final Report.

                                     [END OF DOCUMENT]




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Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of parties to be served:

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GA 30305

Michael A. Graves, The Semrad Law Firm, LLC, Sterling Point II, Suite 201, 303 Perimeter
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Stanley Albert Abrams, 130 Meadowbrook Court, Covington, GA 30016

Hyacinth Anastasia Abrams, 130 Meadowbrook Court, Covington, GA 30016

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
30363

All entities on the creditors matrix




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